                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )      No. 3:10-CR-025-04
                                          )      Judge Phillips
SAMANTHA PATE                             )

                           MEMORANDUM AND ORDER


       This matter is before the Court on the defendant’s pro se motion for early

termination of supervised release [Doc. 104]. In support of her motion, defendant states

that she has completed over half of her term of supervision and she done everything that

she has been expected to do. The defendant is expecting a child due August 3, 2016, and

she is “beyond ready to put this behind me and move forward with my life.”

       The Probation Office agrees that defendant has completed two years of her three-

year term of supervised release and there have been no major issues of non-compliance.

The defendant has maintained stable employment during her supervision and is currently

on maternity leave pending the birth of her child. The defendant presently resides with her

boyfriend and her son. The defendant has submitted several drug screens while on

supervision and all have been negative, including the most recent test on May 6, 2016. The

defendant has incurred no new arrests. The defendant did receive a citation in Cumberland

County, Tennessee, in June 2016 for allowing an unlicensed driver, her boyfriend, to drive.

The defendant promptly reported this information to her supervising probation officer.

Further, the supervising probation officer does not oppose the defendant’s request for early




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termination of supervised release. Similarly, the government has advised the Court that it

does not oppose the defendant’s motion for early release.

       Defendant pleaded guilty to and was sentenced to one count of distribution of a

mixture and substance containing a detectable amount of cocaine base, also known as

“crack,” a Schedule II controlled substance, in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(C). On April 2, 2013, defendant was sentenced to a term of imprisonment of 30

months and a three-year term of supervised release [Doc. 99].

       After considering the factors set forth 18 U.S.C. § 3553(a), the Court may terminate

a term of supervised release and discharge the defendant after the expiration of one year of

supervised release if the Court “is satisfied that such action is warranted by the conduct of

the defendant released and the interest of justice.” 18 U.S.C. § 3583(e)(1). After carefully

considering the requirements of the statute, the Court finds the relevant portions of 18

U.S.C. § 3553(a) support an early termination of defendant’s probation. In support of this

determination, the Court notes that defendant has completed over half of her three-year

term of supervised release; she has been in compliance with the conditions of her

supervised release with the exception of her citation in June 2016; she maintains steady

employment and an independent, stable residence. In addition, her supervising probation

officer recommends early termination and the government does not oppose the request. It

appears to the Court that defendant has rehabilitated herself and she poses no threat to any

individual or the community to reoffend. Accordingly, pursuant to 18 U.S.C. § 3583(e)(1),

based on the defendant’s conduct and the interests of justice, defendant’s motion for early



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termination of supervised release [Doc. 104] is GRANTED.    Defendant’s term of

supervised release is TERMINATED.

     IT IS SO ORDERED.



                               s/ Thomas W. Phillips
                             SENIOR UNITED STATES DISTRICT JUDGE




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